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                          In the United States District Court
                              for the District of Colorado


  Frank Lopeman,

         On behalf of himself and those similarly   Case No. 1:21-cv-2386
         situated,

                 Plaintiff,                         Judge

         v.                                         Magistrate Judge

  Stantec Consulting Services Inc.; Doe             Jury Demand Endorsed Hereon
  Corporation 1-10; Doe Individuals 1-10

                 Defendants.


                       Class and Collective Action Complaint



        1.      This lawsuit seeks redress for violations of the Fair Labor Standards Act, 29 U.S.C.

 § 201, et seq. (“FLSA”), the Ohio Minimum Fair Wage Standards Act (“OMFWSA”), O.R.C.

 4111.01, et seq., O.R.C. § 4113.15 (Ohio’s “Prompt Pay Act”), O.R.C. § 2307.60, and for unjust

 enrichment resulting from Defendant Stantec Consulting Services Inc. denial of overtime wages

 to employees designated by Defendant as “hourly exempt” employees.

        2.      Defendant Stantec Consulting Services Inc. is an international consulting firm

 serving a wide range of governments and private sector industries.

        3.      Defendant’s “hourly exempt” employees (hereinafter, “Hourly Exempt

 Employees”) are not exempt from the overtime requirements of the FLSA and Ohio wage and

 hour laws because they are not paid on a salary basis.
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        4.      Throughout the time period relevant to this lawsuit, however, Defendant has paid

 Hourly Exempt Employees at the Hourly Exempt Employee’s regular hourly rate for the overtime

 hours they have worked. In other words, Hourly Exempt Employees receive “straight time” for

 their overtime hours.

        5.      Defendants repeatedly and willfully violated the Fair Labor Standards Act, the

 OMFWSA, and the Ohio Prompt Pay Act by failing to pay time-and-a-half overtime wages to the

 Hourly Exempt Employees.

        6.      All Hourly Exempt Employees, including Plaintiff, have been subject to the same

 or similar employment policies and practices.

                                    Jurisdiction and Venue

        7.      Under 28 U.S.C. § 1331 and 29 U.S.C. § 216(b), this Court has jurisdiction over

 Plaintiff’s FLSA claims.

        8.      Under 28 U.S.C. § 1367, this Court has supplemental jurisdiction over Plaintiff’s

 Ohio law claims.

        9.      The amount in controversy in this matter exceeds the sum or value of $5,000,000

 exclusive of interest and costs.

        10.     Plaintiff and at least one member of the proposed collective action class are citizens

 of a state different from that of Defendant.

        11.     Citizenship of the members of the proposed collective action class is dispersed

 across the United States.

        12.     Plaintiff and the Hourly Exempt Employees’ claims involve matters of national

 and/or interstate interest.


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         13.       Venue in this Court is proper under 28 U.S.C. § 1391(b) because Defendant’s

 principal place of business is in this district.

                                                    Parties

 Plaintiff

 Frank Lopeman

         14.       Plaintiff Frank Lopeman is a resident of Ohio.

         15.       Plaintiff was an “employee” of Defendant under the FLSA and Ohio law.

         16.       Plaintiff has given written consent to join this action.

 Defendants

 Stantec Consulting Services Inc.

         17.       Defendant Stantec Consulting Services Inc. is a New York corporation.

         18.       Defendant Stantec Consulting Services Inc. has its principal place of business in

 Broomfield, Colorado.

         19.       Stantec Consulting Services Inc. is the name that appears on Plaintiff’s paystubs for

 the work he completed for Defendant.

         20.       Defendant Stantec Consulting Services Inc. has substantial control over Plaintiff

 and similarly situated employees’ working conditions, and over the unlawful policies and practices

 alleged herein.

         21.       Defendant Stantec Consulting Services Inc. has direct and/or indirect control of

 the terms and conditions of Plaintiff’s work and the work of similarly situated employees.

         22.       At all relevant times, Defendant Stantec Consulting Services Inc. maintained

 control, oversight, and direction over Plaintiff and similarly situated employees, including, but not

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 limited to, hiring, firing, disciplining, hours worked, recordkeeping, payroll, pay rates, and other

 practices.

         23.    Defendant Stantec Consulting Services Inc. is an “employer” of Plaintiff and

 similarly situated employees as that term is defined by the FLSA, the OMFWSA, and the Ohio

 Prompt Pay Act.

         24.    At all relevant times, Defendant Stantec Consulting Services Inc. has been and

 continues to be an enterprise engaged in “the production of goods for commerce” within the

 meaning of the phrase as used in the FLSA.

         25.    Defendant Stantec Consulting Services Inc.’s gross revenue exceeds $500,000 per

 year.

 Doe Corporation 1-10

         26.    Upon information and belief, Defendant may own, operate, and control other

 entities and/or limited liability companies that also comprise part of the Stantec Consulting

 Services Inc. operation, and qualify as “employers” of Plaintiff and the Hourly Exempt Employees

 as that term is defined by the FLSA and Ohio wage law.

         27.    The identities of these additional Defendants should be revealed as discovery

 progresses and can be named at that time.

 John Doe 1-10

         28.    Upon information and belief, there are individuals who also qualify as “employers”

 of Plaintiff and the Hourly Exempt Employees at Stantec Consulting Services Inc. as that term is

 defined by the FLSA and Ohio wage law.




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          29.    The identities of these additional Defendants should be revealed as discovery

 progresses and can be named at that time.

                                             Facts

          30.    Stantec Consulting Services Inc. provides consulting services to governments and

 business across the United States and around the world.

          31.    To provide these services, Defendant employs thousands of individuals.

          32.    Defendant classifies some segment of their workers as “hourly exempt”

 employees, meaning that Defendant informs the workers that they are “exempt” from the FLSA

 and related state wage and hour laws and therefore do not receive time-and-a-half their regular

 hourly rate for overtime purposes.

          33.    Defendant’s “hourly exempt” designation and policy is explained in Defendant’s

 Employee Handbook.

          34.    As the name suggests, the Hourly Exempt Employees have been paid on an hourly

 basis.

          35.    At all times relevant, Defendant has paid the Hourly Exempt Employees on an

 hourly basis.

          36.    Defendant does not pay the Hourly Exempt Employees on a salary basis.

          37.    In some or all workweeks, the Hourly Exempt Employees have worked more than

 40 hours.

          38.    In some or all workweeks, Defendant paid Hourly Exempt Employees their regular

 pay rate for hours worked in excess of 40 per workweek.




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        39.     During workweeks when Hourly Exempt Employees worked less than 40 hours,

 Defendant has paid the Hourly Exempt Employees wages only for the hours they worked, rather

 than a set weekly amount.

        40.     The precise amount of underpayment in any given workweek cannot be calculated

 without access to Defendant’s records.

        41.     Defendant applied the same or similar pay policies, practices, and procedures to all

 Hourly Exempt Employees.

        42.     Defendants have willfully failed to pay federal and Ohio state overtime to Plaintiff

 and similarly situated Hourly Exempt Employees at Stantec Consulting Services Inc.

                             Plaintiff’s Individual Factual Allegations

        43.     Plaintiff worked for Defendant in Columbus, Ohio as a Construction Services Field

 Manager from July 2003 to March 27, 2020.

        44.     From September 2018 until the end of his employment, Plaintiff was classified as

 an Hourly Exempt Employee.

        45.     Plaintiff worked over 40 hours for Defendant in some workweeks.

        46.     Defendant’s payroll records will show that Plaintiff worked in excess of 40 hours in

 some workweeks.

        47.     Since September 2018, Plaintiff has been paid his regular hourly rate for the hours

 he worked.

        48.     Since September 2018, Plaintiff has been paid for the hours he worked in excess of

 40 hours per week at his regular hourly rate.




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        49.     Since September 2018, in order for Plaintiff to be paid the equivalent of his hourly

 rate for 40 hours in a workweek, he was required to use his earned vacation and sick time to cover

 the difference between 40 hours and the number of hours he worked.

        50.     Defendants have failed to pay Plaintiff overtime as required by law.

                            Collective Action Allegations

        51.     Plaintiff brings the First Count on behalf of himself and all similarly situated current

 and former Hourly Exempt Employees at Stantec Consulting Services Inc. during the three years

 prior to the filing of this Class Action Complaint and the date of final judgment in this matter, who

 elect to opt-in to this action (the “FLSA Collective”).

        52.     At all relevant times, Plaintiff and the FLSA Collective have been similarly situated,

 have had substantially similar pay arrangement, specifically, they have all been subject to

 Defendant’s decision, policy, plan, practices, procedures, protocols, and rules of willfully denying

 Plaintiff and the FLSA Collective overtime wages at time-and-a-half their regular hourly rate.

 Plaintiff’s claims are essentially the same as those of the FLSA Collective.

        53.     Defendants’ unlawful conduct is pursuant to a company policy or practice.

        54.     Defendants are aware or should have been aware that federal law required the

 hourly employees to be paid time-and-a-half their regular hourly rate for hours worked in excess of

 40 per workweek.

        55.     Defendants’ unlawful conduct has been widespread, repeated, and consistent.

        56.     The First Count is properly brought under and maintained as an opt-in collective

 action under 29 U.S.C. § 216(b).

        57.     The FLSA Collective members are readily identifiable and ascertainable.


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           58.    In recognition of the services Plaintiff has rendered and will continue to render to

 the FLSA Collective, Plaintiff will request payment of a service award upon resolution of this

 action.

                                      Class Action Allegations

           59.    Plaintiff brings the Second, Third, Fourth, and Fifth Counts under Federal Rule of

 Civil Procedure 23, on behalf of himself and a class of persons consisting of:

           All current and former Hourly Exempt Employees who have worked for Defendant
           Stantec Consulting Services Inc. in the State of Ohio between the date six years
           prior to the filing of the original complaint and the date of final judgment in this
           matter (“Rule 23 Class”).

           60.    Excluded from the Rule 23 Class are Defendant’s legal representatives, officers,

 directors, assigns, and successors, or any individual who has, or who at any time during the class

 period has had, a controlling interest in Defendant; the Judge(s) to whom this case is assigned and

 any member of the Judges’ immediate family; and all persons who will submit timely and otherwise

 proper requests for exclusion from the Rule 23 Class.

           61.    The number and identity of the Rule 23 Class members are ascertainable from

 Defendant’s records.

           62.    The hours assigned and worked and the rates of pay for each Rule 23 Class Member

 are determinable from Defendant’s records.

           63.    All of the records relevant to the claims of Rule 23 Class members should be found

 in Defendant’s records.

           64.    For the purpose of notice and other purposes related to this action, the Rule 23

 Class Members’ names and contact information are readily available from Defendant.

           65.    Notice can be provided by means permissible under Rule 23.
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        66.     The Rule 23 Class members are so numerous that joinder of all members is

 impracticable, and the disposition of their claims as a class will benefit the parties and the Court.

        67.     There are more than 50 Rule 23 Class members.

        68.     Plaintiff’s claims are typical of those claims which could be alleged by any Rule 23

 Class member, and the relief sought is typical of the relief which would be sought by each Rule 23

 Class member in separate actions.

        69.     Plaintiff and the Rule 23 Class members have all sustained similar types of damages

 as a result of Defendants’ failure to comply with the OMFWSA and O.R.C. § 4113.15.

        70.     Plaintiff and the Rule 23 Class members have also unjust enriched Defendant in the

 same way—by having to exchanged earned vacation and sick time in exchange for being paid for

 40 hours in workweeks when they worked less than 40 hours.

        71.     Plaintiff and the Rule 23 Class members sustained similar losses, injuries, and

 damages arising from the same unlawful practices, polices, and procedures.

        72.     Plaintiff is able to fairly and adequately protect the interests of the Rule 23 Class

 and has no interests antagonistic to the Rule 23 Class.

        73.     Plaintiff is represented by attorneys who are experienced and competent in both

 class action litigation and employment litigation.

        74.     A class action is superior to other available methods for the fair and efficient

 adjudication of the controversy, particularly in the context of wage and hour litigation on behalf of

 minimum wage employees where individual class members lack the financial resources to

 vigorously prosecute a lawsuit against corporate defendants. Class action treatment will permit a

 large number of similarly situated persons to prosecute their common claims in a single forum


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 simultaneously, efficiently, and without the unnecessary duplication of efforts and expense that

 numerous individual actions engender.

        75.      This action is properly maintainable as a class action under Federal Rule of Civil

 Procedure 23(b)(3).

        76.      Common questions of law and fact exist as to the Rule 23 Class that predominate

 over any questions only affecting Plaintiff and the Rule 23 Class members individually and include,

 but are not limited to:

              a. Whether Plaintiff and the Rule 23 Class members were paid on an hourly basis;

              b. Whether Plaintiff and the Rule 23 Class members were subject to the same or
                 similar terms of employment and compensation;

              c. Whether Plaintiff and the Rule 23 Class members were paid their regular hourly
                 rate for hours worked in excess of 40 hours in a workweek;

              d. Whether Plaintiff and the Rule 23 Class were paid time and a half overtime wages
                 when they worked over 40 hours per week;

              e. Whether Plaintiff and the Rule 23 Class conferred a benefit on Defendant that
                 Defendant was aware of and accepted, and whether it would be unjust for
                 Defendant to retain that benefit without compensating for it;

              f. Whether Defendant failed to pay Plaintiff and the Rule 23 Class in a timely manner
                 as described by O.R.C. § 4113.15, and, if so, whether the wages owed are “in
                 dispute”; and

              g. The nature and extent of class-wide injury and the measure of damages for those
                 injuries.

        77.      In recognition of the services Plaintiff has rendered and will continue to render to

 the Rule 23 Class, Plaintiff will request payment of a service award upon resolution of this action.



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                                       Causes of Action

                                            Count 1
                   Failure to Pay Overtime Wages - Fair Labor Standards Act
                        (On Behalf of Plaintiff and the FLSA Collective)

           78.   Plaintiff restates and incorporates the foregoing allegations as if fully rewritten

 herein.

           79.   Plaintiff and the FLSA Collective were all categorized as “hourly exempt”

 employees by Defendant.

           80.   Plaintiff and the FLSA Collective worked hours in excess of 40 in some or all

 workweeks.

           81.   Plaintiff and the FLSA Collective were paid on an hourly basis for all hours worked.

           82.   Plaintiff and the FLSA Collective were denied overtime wages at time-and-a-half

 their regular hourly rate.

           83.   Plaintiff and the FLSA Collective were paid their regular hourly rate for hours

 worked in excess of 40 in a workweek.

           84.   By the acts and conduct described above, Defendants willfully violated the

 provisions of the FLSA and disregarded the rights of Plaintiff and the FLSA Collective.

           85.   Plaintiff and the FLSA Collective have been damaged by Defendants’ willful failure

 to pay overtime wages as required by law.

           86.   As a result of Defendants’ willful violations, Plaintiff and the FLSA Collective are

 entitled to damages, including, but not limited to, unpaid overtime wages, liquidated damages,

 costs, and attorneys’ fees.




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                                             Count 2
            Failure to Pay Overtime Wages – Ohio Minimum Fair Wage Standards Act
                           (On Behalf of Plaintiff and the Rule 23 Class)

           87.   Plaintiff restates and incorporates the foregoing allegations as if fully rewritten

 herein.

           88.   Plaintiff and the Rule 23 Class are paid on an hourly basis.

           89.   Plaintiff and the Rule 23 Class worked more than forty hours in one or more

 workweeks.

           90.   Defendant paid Plaintiff and the Rule 23 Class at their regular hourly rate for hours

 worked in excess of 40 per workweek.

           91.   Plaintiff and the Rule 23 Class were not paid time and a half their regular rate for

 hours worked in excess of 40 hours per week.

           92.   By not paying Plaintiff and the Rule 23 Class proper overtime wages for time

 worked in excess of forty hours in a workweek, Defendant has violated the OMFWSA.

           93.   As a result of Defendant’s violations, Plaintiff and the Rule 23 Class are entitled to

 damages, including, but not limited to, unpaid overtime wages, costs, and attorneys’ fees.

                                            Count 3
                         Untimely Payment of Wages – O.R.C. § 4113.15
                          (On Behalf of Plaintiff and the Rule 23 Class)

           94.   Plaintiff restates and incorporates the foregoing allegations as if fully rewritten

 herein.

           95.   During all relevant times, Defendant was covered by O.R.C. § 4113.15, and Plaintiff

 and the Rule 23 Class were employees within the meaning of O.R.C. § 4113.15 and were not

 exempt from its protections.


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           96.    O.R.C. § 4113.15(A) requires that Defendant pay Plaintiff and the Rule 23 Class all

 wages on or before the first day of each month, for wages earned during the first half of the

 preceding month ending with the fifteenth day thereof, and on or before the fifteenth day of each

 month, for wages earned during the last half of the preceding calendar month.

           97.    By denying Plaintiff and the Rule 23 Class overtime wages, Defendant has failed to

 pay Plaintiff and the Rule 23 Class all wages due to them.

           98.    By failing to pay Plaintiff and the Rule 23 Class all wages due to them under the

 FLSA and Ohio law, Defendants have also violated the Ohio Prompt Pay Act.

           99.    Plaintiff and the Rule 23 Class’s unpaid wages have remained unpaid for more than

 thirty (30) days beyond their regularly scheduled payday.

           100.   Plaintiff’s and the Rule 23 Class’s entitlement to the wages sought herein is and has

 been undisputed.

           101.   As a result of Defendants’ violation, Plaintiff and the Rule 23 Class are entitled to

 unpaid wages and liquidated damages, as stated in O.R.C. § 4113.15.

                                             Count 4
                             Damages Pursuant to O.R.C. § 2307.60
                           (On Behalf of Plaintiff and the Rule 23 Class)

           102.   Plaintiff restates and incorporates the foregoing allegations as if fully rewritten

 herein.

           103.   A willful violation of the FLSA is a criminal act. 29 U.S.C. § 216(a).

           104.   By their acts and omissions described herein, Defendant has willfully violated the

 FLSA, and Plaintiff and the Rule 23 Class have been injured as a result.




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        105.    O.R.C. § 2307.60 permits anyone injured in person or property by a criminal act to

 recover damages in a civil action, including exemplary and punitive damages.

        106.    As a result of Defendant’s willful violations of the FLSA, Plaintiff and the Rule 23

 Class are entitled to compensatory and punitive damages pursuant to O.R.C. § 2307.60.

                                            Count 5
                                      Unjust Enrichment
                          (On Behalf of Plaintiff and the Rule 23 Class)

        107.    The Hourly Exempt Employees have conferred a benefit on Defendant by working

 at their regular hourly rate for overtime hours.

        108.    The Hourly Exempt Employees have conferred a benefit on Defendant by using

 earned vacation and sick time during workweeks when they worked less than 40 hours in order to

 be paid for 40 hours in that particular week.

        109.    Defendant is aware of and has accepted the benefits conferred on them by Plaintiff

 and the Rule 23 Class.

        110.    It would be unjust for Defendant to be permitted to retain the benefit conferred on

 them by the Hourly Exempt Employees without commensurate compensation.

        111.    Plaintiff and the Rule 23 Class are entitled to equitable restitution of all unapid

 wages and for vacation and sick time they were forced to use.

        WHEREFORE, Plaintiff Frank Lopeman prays for all of the following relief:

        A.      Designation of this action as a collective action on behalf of the collective action

 members and prompt issuance of notice to all similarly-situated members of an opt-in class,

 apprising them of this action, permitting them to assert timely wage and hour claims in this action,

 and appointment of Plaintiff and their counsel to represent the collective action members.


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         B.      Unpaid overtime wages and an additional and equal amount as liquidated damages

 pursuant to the FLSA and supporting regulations.

         C.      Certification of this case as a class action pursuant to Rule 23 of the Federal Rules

 of Civil Procedure.

         D.      Designation of Plaintiff as representative of the Rule 23 Class and counsel of record

 as Class Counsel.

         E.      An award of unpaid overtime wages due under O.R.C. § 4113.15, and the

 OMFWA.

         F.      An award of restitution for unjust enrichment.

         G.      Liquidated damages under O.R.C. § 4113.15.

         H.      Compensatory and punitive damages under O.R.C. § 2307.60.

         I.      An award of prejudgment and post-judgment interest.

         J.      An award of costs and expenses of this action, together with reasonable attorneys’

 fees and expert fees.

         K.      Such other legal and equitable relief as the Court deems appropriate.

                                          JURY DEMAND

         Plaintiff hereby demands a jury trial by the maximum persons permitted by law on all issues

 herein triable to a jury.

         DATED: September 3, 2021

                                               Respectfully submitted,

                                               /s/ Andrew Kimble
                                               Andrew R. Biller
                                               Andrew P. Kimble
                                               Nathan Spencer

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